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10

11
                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
12                             SAN FRANCISCO DIVISION
13
     JUAN PEREZ, individually and on behalf   CASE NO.:
14   of all others similarly situated,
15                Plaintiff,
                                              CLASS ACTION
16
     vs.
                                              CLASS ACTION COMPLAINT FOR
17
                                              VIOLATIONS OF THE FEDERAL
     META PLATFORMS, INC., MARK
18                                            SECURITIES LAWS
     ZUCKERBERG, and DAVID M.
19   WEHNER,
                                              JURY TRIAL DEMANDED
20                Defendants.
21

22

23

24

25

26

27

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 1          Plaintiff Juan Perez (“Plaintiff”), individually and on behalf of all other persons
 2
     similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s complaint against
 3

 4
     Defendants (defined below), alleges the following based upon personal knowledge as to

 5   Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based
 6
     upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys, which
 7
     included, among other things, a review of the defendants’ public documents, and
 8

 9   announcements made by defendants, United States Securities and Exchange Commission
10
     (“SEC”) filings, wire and press releases published by and regarding Facebook, Inc.
11
     (“Facebook” or the “Company”), analysts’ reports and advisories about the Company, and
12

13   information readily obtainable on the Internet. Plaintiff believes that substantial

14   evidentiary support will exist for the allegations set forth herein after a reasonable
15
     opportunity for discovery.
16

17
                                    NATURE OF THE ACTION

18          1.       This is a federal securities class action on behalf of all persons and entities
19
     who purchased the publicly traded securities of Meta Platforms, Inc. (formerly known as
20
     Facebook, and sometimes referred to as such herein) between April 29, 2021 and October
21

22   21, 2021, both dates inclusive (the “Class Period”). Plaintiff seeks to recover damages
23
     caused by Defendants’ violations of the federal securities laws under the Securities
24
     Exchange Act of 1934 (the “Exchange Act”).
25

26                                 JURISDICTION AND VENUE

27          2.       The claims asserted herein arise under and pursuant to §§10(b) and 20(a) of
28
     the Exchange Act (15 U.S.C. §78j(b) and §78t(a)) and Rule 10b-5 promulgated thereunder
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 1   by the SEC (17 C.F.R. §240.10b-5).
 2
            3.       This Court has jurisdiction over the subject matter of this action under 28
 3

 4
     U.S.C. §1331 and §27 of the Exchange Act.

 5          4.       Venue is proper in this judicial district pursuant to §27 of the Exchange Act
 6
     (15 U.S.C. §78aa) and 28 U.S.C. §1391(b) as the alleged misstatements entered and
 7
     subsequent damages took place within this judicial district.
 8

 9          5.       In connection with the acts, conduct and other wrongs alleged in this
10
     Complaint, Defendants, directly or indirectly, used the means and instrumentalities of
11
     interstate commerce, including but not limited to, the United States mail, interstate
12

13   telephone communications and the facilities of the national securities exchange.

14                                 DIVISIONAL ASSIGNMENT
15
            6.       In compliance with Local Rule 3-5(b), Plaintiff requests that this action be
16

17
     assigned to the San Francisco Division of this District because a substantial part of the

18   events or conduct giving rise to the claims in this action occurred in the County of San
19
     Mateo.
20
                                              PARTIES
21

22          7.       Plaintiff, as set forth in the accompanying certification incorporated by
23
     reference herein, purchased Facebook’s securities during the Class Period and was
24
     damaged thereby.
25

26          8.       Defendant Meta Platforms, Inc. is the world’s largest online social network,

27   with 3.3 billion monthly active users. The Company is incorporated in Delaware and its
28
     principal executive offices are located at 1601 Willow Road, Menlo Park, CA 94025.
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 1   Facebook securities are traded on NASDAQ under the ticker symbol “FB.”
 2
           9.       Defendant Mark Zuckerberg (“Zuckerberg”) has been the Chief Executive
 3

 4
     Officer (“CEO”) of Meta Platforms throughout the Class Period.

 5         10.      Defendant David M. Wehner (“Wehner”) has been the Chief Financial
 6
     Officer (“CFO”) of Meta Platforms throughout the Class Period.
 7
           11.      Defendants Zuckerberg and Wehner are sometimes referred to herein as the
 8

 9   “Individual Defendants.”
10
           12.      Each of the Individual Defendants:
11
                    a)     directly participated in the management of the Company;
12

13                  b)     was directly involved in the day-to-day operations of the Company

14                         at the highest levels;
15
                    c)     was privy to confidential proprietary information concerning the
16

17
                    Company and its business and operations;

18                  d)     was directly or indirectly involved in drafting, producing, reviewing
19
                    and/or disseminating the false and misleading statements and information
20
                    alleged herein;
21

22                  e)     was directly or indirectly involved in the oversight or implementation
23
                    of the Company’s internal controls;
24
                    f)     was aware of or recklessly disregarded the fact that the false and
25

26                  misleading statements were being issued concerning the Company; and/or;

27                  g)     approved or ratified these statements in violation of the federal
28
                    securities laws.
     CLASS ACTION COMPLAINT - 4
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 1          13.    The Company is liable for the acts of the Individual Defendants and its
 2
     employees under the doctrine of respondeat superior and common law principles of
 3

 4
     agency because all of the wrongful acts complained of herein were carried out within the

 5   scope of their employment.
 6
            14.    The scienter of the Individual Defendants and other employees and agents
 7
     of the Company is similarly imputed to the Company under respondeat superior and
 8

 9   agency principles.
10
            15.    The Company and the Individual Defendants are referred to herein,
11
     collectively, as the “Defendants.”
12

13                              FACTUAL ALLEGATIONS

14          16.    Meta Platforms, then known as Facebook, was founded as a Delaware
15
     corporation in 2004 by Defendant Zuckerberg while he was a student at Harvard
16

17
     University. Today, Facebook operates a social-networking service through its website,

18   www.facebook.com, and its mobile applications.         Facebook’s family of products
19
     encompasses the platforms and applications called Facebook, Instagram, Messenger,
20
     WhatsApp, and Facebook Reality Labs.
21

22          17.    Facebook receives virtually all of its revenue from advertisements sold to
23
     marketers across its various platforms and applications.     Fundamentally, the larger
24
     Facebook’s user database grows, and the more detailed information that Facebook can
25

26   extract from those users, the more money Facebook makes. The more money Facebook

27   makes, the more valuable it is as a company to investors. As a result, any information
28
     collected by Facebook that demonstrates harms to users is material to Facebook’s bottom
     CLASS ACTION COMPLAINT - 5
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 1   line and to its desirability to investors.
 2
            18.     In an early 2003 foreshadowing of the current endemic ills plaguing
 3

 4
     Facebook, Defendant Zuckerberg, a student at the time, launched FaceMash. FaceMash

 5   was a sophomorically conceived site displaying pairs of female classmates and inviting
 6
     other students to comment on who was more attractive. In response to questioning at a
 7
     2018 U.S. Congressional hearing, Defendant Zuckerberg smirkingly described FaceMash
 8

 9   as “. . . a prank website that I launched in college, in my dorm room, before I started
10
     Facebook[.]”1
11
            19.     Thus, even prior to the founding of Facebook, Zuckerberg was reveling in
12

13   the objectification of women through the unauthorized public dissemination of superficial

14   physical characteristics presented in two-dimensional photographs.
15
            20.     The danger and lesson of Zuckerberg’s “prank” seems to have eluded
16

17
     Facebook. At least as early as 2019, Facebook conducted detailed in-house research that

18   indicated a startling fact: that the Company exacerbated negative body image issues for
19
     one in three teenage girl users on Instagram’s platform. 2 In addition, and without
20
     prompting, teens in Facebook’s research blamed Instagram for increased rates of anxiety
21

22

23

24          1
             Channeling ‘The Social Network,’ lawmaker grills Zuckerberg on his notorious
25   beginnings, THE WASHINGTON POST (April 11, 2018), ‘What was FaceMash?’ Facebook
     CEO Mark Zuckerberg faces questions about his notorious website at Harvard - The
26   Washington Post.
27          2
           Wells, Horowitz and Seetharaman, The Facebook Files, THE WALL STREET
28   JOURNAL, www.wsj.com, Sept. 14, 2021.

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 1   and depression.3
 2
            21.       Rather than making meaningful changes to safeguard the health and safety
 3

 4
     of those vulnerable teenage girl users, and without any public disclosure in its annual

 5   reports for 2019 and 2020, Facebook continued the implementation of techniques that
 6
     “increase the frequency and duration of engagement by young users and the resulting
 7
     harms caused by such extended engagement.”4
 8

 9          22.       The failure of Facebook to include any information regarding its internal
10
     studies indicating Instagram’s harm to teenage girls in its annual reports for 2019 and 2020
11
     is a material omission of information significant to investors’ decisions to buy or sell the
12

13   Company’s stock.

14          23.       “Facebook Knows Instagram Is Toxic for Teen Girls, Company Documents
15
     Show; Its own in-depth research shows a significant teen mental-health issue that
16

17
     Facebook plays down in public.” 5 The Company’s failure to act on this disturbing

18   information, as well as its downplay of the information after it was publicly disclosed by
19
     former employee and whistleblower Frances Haugen, has prompted numerous state
20
     attorneys general to launch investigations into possible violations by Facebook of
21

22

23

24          3
                Id.
25
            4
             Horowitz and Wells, Instagram’s Effects on Children are Being Investigated by
26   Coalition of States, THE WALL STREET JOURNAL, www.wsj.com, Nov. 18, 2021.
27          5
           Wells, Horowitz and Seetharaman, The Facebook Files, THE WALL STREET
28   JOURNAL, www.wsj.com, Sept. 14, 2021.

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 1   consumer protection laws.6
 2
            24.     Regarding Building and Maintaining User Trust, particularly with regard to
 3

 4
     Safety Tools, Facebook’s annual reports for 2013 and earlier state that “These tools are

 5   coupled with educational resources and partnerships with online safety experts to offer
 6
     protections for all users, particularly teenagers. We take into account the unique needs
 7
     of teenagers who use our service and employ age-appropriate settings that restrict
 8

 9   their visibility, limit the audience with whom they can share, and help prevent
10
     unwanted contact from strangers.” (emphasis added).
11
            25.     These early statements regarding user trust and safety demonstrate that
12

13   Facebook recognized, yet subsequently ignored, the “unique needs of teenagers” and

14   Facebook’s efforts and responsibility to maintain “age-appropriate settings.”
15
            26.     Dangerous practices targeting female teen’s safety and security is only one
16

17
     parallel to be found between Facebook and FaceMash. To launch FaceMash, Zuckerberg

18   reportedly discussed hacking into the school’s computer servers to surreptitiously
19
     download photos of students without their permission. Id. The student newspaper at the
20
     time reported that Zuckerberg was accused by the school of “‘breaching security, violating
21

22   copyrights and violating individual privacy[.]’” Id.
23
            27.     Eighteen years later, Zuckerberg’s Facebook is accused of strikingly similar
24
     conduct: an article entitled “Facebook Rife With Stolen Content,” indicates that Facebook
25

26

27
            6
28           Horowitz and Wells, Instagram’s Effects on Children are Being Investigated by
     Coalition of States, THE WALL STREET JOURNAL, www.wsj.com, Nov. 18, 2021.
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 1   channels approximately 40% of its traffic to sites with plagiarized and/or recycled content
 2
     and fails to effectively police copyright infringement.7 As noted below, these issues affect
 3

 4
     the quantity and quality of distinct users and the desirability of those uses to marketers.

 5          28.     Regarding marketing, Facebook’s annual reports for years 2016 through
 6
     2018 state: “To date, our communities have grown organically with people inviting
 7
     their friends to connect with them, supported by internal efforts to stimulate
 8

 9   awareness and interest.” Facebook’s annual reports for years 2019 and 2020 were
10
     tweaked slightly to state: “Historically, our communities have generally grown
11
     organically with people inviting their friends to connect with them, supported by
12

13   internal efforts to stimulate awareness and interest.” (emphasis supplied).

14          29.     These statements were misleading in that during those times, Facebook,
15
     including on its platform Instagram, employed techniques that drove, rather than
16

17
     supported, the frequency and duration of teenage girl engagement. This is the antithesis

18   of “organic” growth.
19
            30.     Relatedly, in a November 2, 2021 statement by Facebook’s VP of Artificial
20
     Intelligence, Jerome Pesenti, Facebook indicated that it was shutting down the Face
21

22   Recognition System (“FRS”) that had collected up to that point more than a billion
23
     individual facial recognition templates.     The implementation of the FRS has been
24
     described as a “growth hack,” used by Facebook to encourage facially identified users to
25

26

27
            7
28         Hagey and Horowitz, The Facebook Files, THE WALL STREET JOURNAL,
     www.wsj.com, Nov. 9, 2021.
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 1   intensify their use of Facebook. Since its implementation, FRS has been used in negative
 2
     ways, such as by Clearview AI to scrape user faces and sell the information to repressive
 3

 4
     regimes to identify dissenters. New York Times tech reporter Casey Newton indicated

 5   that FRS’s value as a growth hack to Facebook most likely had been exhausted by the
 6
     time of Pesenti’s statement.8 Once again, using FRS to encourage those identified to
 7
     expand their engagement with Facebook platforms is the antithesis of “organic.”
 8

 9          31.     Beginning in September 2021, the Wall Street Journal’s Facebook Files,
10
     gleaned from the treasure trove of internal Facebook documents supplied by
11
     whistleblower Haugen, have chronicled a years-long series of internal concealed failures
12

13   to control Facebook’s platforms, contrary to Facebook’s statements of the effectiveness

14   of its internal procedures.
15
            32.     These include, in addition to the above-mentioned failures: exempting elite
16

17
     “whitelisted” users from enforcement actions for their rule-violating material;

18   unrealistically touting AI’s ability to identify and address hate speech, excessive violence
19
     and underage users; implementing an algorithm designed to heighten “meaningful social
20
     interaction” in a manner that stoked division and discord; allowing known drug cartels,
21

22   human traffickers and armed groups to utilize Facebook’s platforms to encourage their
23
     violent and illegal activities; discussing monetizing tweens through engaging them during
24
     play dates because they were a “valuable but untapped audience;” and covering up the
25

26

27
            8
28         Newton and Swisher, Is the Problem Facebook? Or the Internet?, THE NEW
     YORK TIMES, Nov. 4, 2021.
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 1   extent to which Facebook’s accounts were opened by existing users and the resultant
 2
     inability of Facebook to present a realistic count of unique platform users.
 3

 4
            33.    Facebook was trading at approximately $376 per share in September 2021

 5   prior to the publication of the above information. By October 27, 2021, Facebook traded
 6
     at $312, representing a drop of at least $64 a share, equating to a total drop in excess of
 7
     hundreds of billions of dollars.
 8

 9          34.    In its 2020 Annual Report filed with the SEC on January 28, 2021, Facebook
10
     stated that it has 3.3 billion users, as reflected in the following chart:
11

12

13

14

15

16

17

18

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 1          35.     Facebook’s users are critical to the Company’s business because the
 2
     Company’s steady increase in users allows the Company to generate and charge more for
 3

 4
     advertising.

 5          36.     Facebook derives substantially all its revenue from advertising aimed at its
 6
     users. As indicated above, approximately 3.3 billion people used the Company’s social
 7
     media website, www.facebook.com, on a monthly basis in the fourth quarter of 2020.
 8

 9   Facebook connects its customers – sellers and advertisers of goods and services – with its
10
     users, generating revenue primarily through the sale of advertisements that are targeted to
11
     Facebook users based on their demographics and various other information.
12

13          37.     As stated on Facebook’s website: “With our powerful audience selection

14   tools, you can target people who are right for your business. Using what you know about
15
     your customers-like demographics, interests and behaviors-you can connect with people
16

17
     similar to them.”

18          38.     Facebook also provides detailed analytical data to advertisers on how their
19
     ad campaigns are performing, including among certain groups of Facebook users with
20
     specified attributes and characteristics that the advertiser seeks to target. By monitoring
21

22   this data and providing this information to its customers on an ongoing basis, Facebook
23
     captures consumer behavior, profile, preferences, lifestyle, and other attributes which
24
     allow Facebook to run targeted ads. This enables advertisers to specify the groups of
25

26   users that will be targeted to receive the advertisements.

27          39.     Given the importance of user growth to the success of the Company’s
28
     targeted advertisements, Facebook’s financial performance depends on its success in
     CLASS ACTION COMPLAINT - 12
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 1   attracting active users to its platform. As Defendants acknowledged as far back as
 2
     Facebook’s 2017 Annual Report on Form 10-K, “[t]he size of our user base and our users’
 3

 4
     level of engagement are critical to our success. Our financial performance has been

 5   and will continue to be significantly determined by our success in adding, retaining,
 6
     and engaging active users of our products, particularly for Facebook and Instagram.”
 7
            40.     Thus, any information demonstrating problems with increasing the number
 8

 9   of users, user discontent, the aging or lack of engagement in its users, errors in calculating
10
     users or failing to eliminate duplicate accounts was critical to Facebook’s financial results
11
     and success.
12

13          41.     Facebook’s other annual and quarterly reports issued prior to the start of the

14   Class Period also stressed the importance of these facts. On November 3, 2016, Facebook
15
     filed with the SEC a Form 10-Q quarterly report for the quarter ended September 30, 2016
16

17
     (“Q3 2016 10-Q”). The Q3 2016 10-Q was signed by Defendant Wehner. Attached to the

18   Q3 2016 10-Q were certifications pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”)
19
     signed by Defendants Zuckerberg and Wehner attesting to the accuracy of financial
20
     reporting, the disclosure of any material changes to the Company’s internal control over
21

22   financial reporting, and the disclosure of all fraud.
23
            42.     The Q3 2016 10-Q stated that:
24
            The size of our user base and our users’ level of engagement are critical to
25          our success. Our financial performance has been and will continue to be
26          significantly determined by our success in adding, retaining, and engaging
            active users. We anticipate that our active user growth rate will continue to
27          decline over time as the size of our active user base increases, and as we
28
            achieve higher market penetration rates. If people do not perceive our
            products to be useful, reliable, and trustworthy, we may not be able to
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 1          attract or retain users or otherwise maintain or increase the frequency and
 2
            duration of their engagement.

 3          43.    The Q3 2016 10-Q stated that, between September 30, 2013 and September
 4
     30, 2016, Facebook’s monthly active users (“MAUs”) grew from 199 million to 229
 5
     million in the United States and Canada. The Q3 2016 10-Q also stated that, during the
 6

 7   same time frame, Facebook’s MAUs in Europe grew from 276 million to 342 million.
 8
            44.    The Q3 2016 10-Q stated, in relevant part, the following about individuals
 9
     with multiple accounts:
10

11                 In 2015, for example, we estimate user-misclassified and
                   undesirable accounts may have represented less than 2% of our
12                 worldwide MAUs. We believe the percentage of accounts that
13                 are duplicate or false is meaningfully lower in developed
                   markets such as the United States or United Kingdom and
14                 higher in developing markets such as India and Turkey.
15
                   (Emphasis added.)
16

17
            45.    On February 3, 2017, Facebook filed with the SEC a Form 10-K annual

18   report for the fiscal year ended December 31, 2016 (“2016 10-K”). The 2016 10-K was
19
     signed by Defendants Zuckerberg and Wehner. Attached to the 2016 10-K were SOX
20
     certifications signed by Defendants Zuckerberg and Wehner attesting to the accuracy of
21

22   financial reporting, the disclosure of any material changes to the Company’s internal
23
     control over financial reporting, and the disclosure of all fraud.
24
            46.    The 2016 Annual Report stated:
25

26          The size of our user base and our users’ level of engagement are critical to
            our success. Our financial performance has been and will continue to be
27          significantly determined by our success in adding, retaining, and engaging
28
            active users of our products, particularly for Facebook and Instagram. . . If
            people do not perceive our products to be useful, reliable, and trustworthy,
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 1          we may not be able to attract or retain users or otherwise maintain or
 2
            increase the frequency and duration of their engagement.

 3          47.    The 2016 10-K stated that, between December 31, 2013 and December 31,
 4
     2016, MAUs in the United States and Canada grew from 201 million to 231 million. The
 5
     2016 10-K also stated that, in Europe during the same time frame, Facebook’s MAUs
 6

 7   grew from 282 million to 349 million.
 8
            48.    The 2016 10-K represented, in pertinent part, the following about the
 9
     number of duplicate and fake accounts at Facebook:
10

11                 In 2016, we estimate that “duplicate” accounts (an account that
                   a user maintains in addition to his or her principal account) may
12                 have represented approximately 6% of our worldwide MAUs.
13                 We also seek to identify “false” accounts . . . In 2016, for
                   example, we estimate user-misclassified and undesirable
14                 accounts may have represented approximately 1% of our
15
                   worldwide MAUs. We believe the percentage of accounts that
                   are duplicate or false is meaningfully lower in developed
16                 markets such as the United States or United Kingdom and
17
                   higher in developing markets such as India and Turkey.

18                 (Emphasis added.)
19
            49.    On February 1, 2018, Facebook filed with the SEC a Form 10-K annual
20
     report for the fiscal year ended December 31, 2017 (“2017 10-K”). The 2017 10-K was
21

22   signed by Defendants Zuckerberg and Wehner. Attached to the 2017 10-K were SOX
23
     certifications signed by Defendants Zuckerberg and Wehner attesting to the accuracy of
24
     financial reporting, the disclosure of any material changes to the Company’s internal
25

26   control over financial reporting, and the disclosure of all fraud.

27          50.    The 2017 Annual Report stated:
28

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 1          The size of our user base and our users’ level of engagement are critical to
 2
            our success. Our financial performance has been and will continue to be
            significantly determined by our success in adding, retaining, and engaging
 3          active users of our products, particularly for Facebook and Instagram. We
 4
            anticipate that our active user growth rate will continue to decline over time
            as the size of our active user base increases, and it is possible that the size of
 5          our active user base may fluctuate or decline in one or more markets,
            particularly in markets where we have achieved higher penetration rates. For
 6
            example, in the fourth quarter of 2017, we experienced a slight decline on a
 7          quarter-over-quarter basis in the number of daily active users on Facebook
            in the United States & Canada region. If people do not perceive our products
 8

 9          to be useful, reliable, and trustworthy, we may not be able to attract or
            retain users or otherwise maintain or increase the frequency and duration
10
            of their engagement.
11
            51.    The 2017 10-K represented that, between December 31, 2016 and December
12

13   31, 2017, MAUs in the United States and Canada grew from 231 million to 239 million.

14   The 2017 10-K also represented that, during the same time frame, Facebook’s MAUs in
15
     Europe grew from 349 million to 370 million.
16

17
            52.    The 2017 10-K stated, in pertinent part, the following about individuals with

18   multiple accounts:
19
                    We believe the percentage of duplicate accounts is
20                  meaningfully higher in developing markets such as India,
                    Indonesia, and the Philippines, as compared to more
21
                    developed markets.
22
                   (Emphasis added.)
23

24          53.    Prior to the start of the Class Period, Facebook had denied concerns that it
25   may not have been complying with its stated policies. On July 16, 2018, Facebook
26
     published on its website a statement titled, “Working to Keep Facebook Safe.” In pertinent
27

28
     part, the statement said:

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 1               It has been suggested that turning a blind eye to bad content
 2
                 is in our commercial interests. This is not true. Creating a safe
                 environment where people from all over the world can share
 3               and connect is core to Facebook’s long-term success.
 4
                                         *      *      *
 5
                 How We Create and Enforce Our Policies
 6

 7               More than 1.4 billion people use Facebook every day from all
                 around the world. They post in dozens of different languages:
 8
                 everything from photos and status updates to live videos.
 9               Deciding what stays up and what comes down involves hard
                 judgment calls on complex issues — from bullying and hate
10
                 speech to terrorism and war crimes. It’s why we developed our
11               Community Standards with input from outside experts —
                 including academics, NGOs and lawyers from around the world.
12               We hosted three Facebook Forums in Europe in May, where we
13               were able to hear from human rights and free speech advocates,
                 as well as counter- terrorism and child safety experts.
14

15
                 These Community Standards have been publicly available for
                 many years, and this year, for the first time, we published the
16               more detailed internal guidelines used by our review teams to
17
                 enforce them.

18                                       *      *      *
19               Reviewing reports quickly and accurately is essential to keeping
                 people safe on Facebook. This is why we’re doubling the
20
                 number of people working on our safety and security teams this
21               year to 20,000. This includes over 7,500 content reviewers.
                 We’re also investing heavily in new technology to help deal
22               with problematic content on Facebook more effectively. For
23               example, we now use technology to assist in sending reports
                 to reviewers with the right expertise, to cut out duplicate
24               reports, and to help detect and remove terrorist propaganda
25
                 and child sexual abuse images before they’ve even been
                 reported.
26

27
                 (Emphasis added.)

28

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 1          54.    On July 17, 2018, Facebook updated its “Working to Keep Facebook Safe”
 2
     statement. The updated statement said, in relevant part:
 3

 4
                   Cross Check

 5                 We want to make clear that we remove content from
                   Facebook, no matter who posts it, when it violates our
 6
                   standards. There are no special protections for any group —
 7                 whether on the right or the left. ‘Cross Check’ — the system
                   described in Dispatches — simply means that some content
 8
                   from certain Pages or Profiles is given a second layer of
 9                 review to make sure we’ve applied our policies correctly.
10
                   This typically applies to high profile, regularly visited Pages
11                 or pieces of content on Facebook so that they are not
                   mistakenly removed or left up. Many media organizations’
12                 Pages — from Channel 4 to The BBC and The Verge — are
13                 cross checked. We may also Cross Check reports on content
                   posted by celebrities, governments, or Pages where we have
14                 made mistakes in the past. For example, we have Cross
15
                   Checked an American civil rights activist’s account to avoid
                   mistakenly deleting instances of him raising awareness of hate
16                 speech he was encountering.
17
                   To be clear, Cross Checking something on Facebook does not
18                 protect the profile, Page or content from being removed. It is
                   simply done to make sure our decision is correct.
19

20                                         *      *       *

21
                   Minors
22                 We do not allow people under 13 to have a Facebook
                   account. If someone is is[sic] reported to us as being under 13,
23                 the reviewer will look at the content on their profile (text and
24                 photos) to try to ascertain their age. If they believe the person
                   is under 13, the account will be put on a hold and the person
25                 will not be able to use Facebook until they provide proof of
26
                   their age. Since the program, we have been working to update
                   the guidance for reviewers to put a hold on any account they
27                 encounter if they have a strong indication it is underage, even
28
                   if the report was for something else.

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 1                 (Emphasis added.)
 2
            55.    On January 31, 2019, Facebook filed with the SEC a Form 10-K annual
 3

 4
     report for the fiscal year ended December 31, 2018 (“2018 10-K”). The 2018 10-K was

 5   signed by Defendants Zuckerberg and Wehner. Attached to the 2018 10-K were SOX
 6
     certifications signed by Defendants Zuckerberg and Wehner attesting to the accuracy of
 7
     financial reporting, the disclosure of any material changes to the Company’s internal
 8

 9   control over financial reporting, and the disclosure of all fraud.
10
            56.    The 2018 10-K stated that, between December 31, 2017 and December 31,
11
     2018, MAUs grew from 239 million to 242 million in the United States and Canada. The
12

13   2018 10-K also stated that, during the same time frame, Facebook’s MAUs grew from

14   370 million to 381 million in Europe.
15
            57.    The 2018 10-K stated, in pertinent part, the following about multiple
16

17
     accounts:

18                 We believe the percentage of duplicate accounts is
                   meaningfully higher in developing markets such as the
19
                   Philippines and Vietnam, as compared to more developed
20                 markets.
21
                   (Emphasis added.)
22
            58.    On January 29, 2020, Facebook filed with the SEC a Form 10-K annual
23

24   report for the fiscal year ended December 31, 2019 (“2019 10-K”). The 2019 10-K was
25   signed by Defendants Zuckerberg and Wehner. Attached to the 2019 10-K were SOX
26
     certifications signed by Defendants Zuckerberg and Wehner attesting to the accuracy of
27

28
     financial reporting, the disclosure of any material changes to the Company’s internal

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 1   control over financial reporting, and the disclosure of all fraud.
 2
            59.    The 2019 10-K represented that, between December 31, 2018 and December
 3

 4
     31, 2019, MAUs grew from 242 million to 248 million in the United States and Canada.

 5   The 2019 10-K also represented that, during the same time frame, Facebook’s MAUs grew
 6
     from 381 million to 394 million in Europe.
 7
            60.    The 2019 10-K stated, in relevant part, the following about multiple
 8

 9   accounts:
10
                   We believe the percentage of duplicate accounts is
11                 meaningfully higher in developing markets such as the
                   Philippines and Vietnam, as compared to more developed
12                 markets.
13
                   (Emphasis added.)
14

15
            61.    On January 28, 2021, Facebook filed with the SEC a Form 10-K annual

16   report for the fiscal year ended December 31, 2020 (“2020 10-K”). The 2020 10-K was
17
     signed by Defendants Zuckerberg and Wehner. Attached to the 2020 10-K were SOX
18
     certifications signed by Defendants Zuckerberg and Wehner attesting to the accuracy of
19

20   financial reporting, the disclosure of any material changes to the Company’s internal
21
     control over financial reporting and the disclosure of all fraud.
22
            62.    The 2020 10-K stated that, between December 31, 2019 and December 31,
23

24   2020, MAUs in the United States and Canada grew from 248 million to 258 million. The
25   2020 10-K also represented that, during the same time frame, Facebook’s MAUs in
26
     Europe grew from 394 million to 419 million.
27

28
            63.    The 2019 10-K stated, in pertinent part, the following about multiple

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 1   accounts:
 2
                   We regularly evaluate our Facebook metrics to estimate the
 3                 number of “duplicate” and “false” accounts among our MAUs.
 4
                   A duplicate account is one that a user maintains in addition to
                   his or her principal account.
 5
                   In the fourth quarter of 2020, we estimated that duplicate
 6
                   accounts may have represented approximately 11% of our
 7                 worldwide MAUs. We believe the percentage of duplicate
                   accounts is meaningfully higher in developing markets such
 8
                   as the Philippines and Vietnam, as compared to more
 9                 developed markets.
10
                   (Emphasis added.)
11
                   FALSE STATEMENTS DURING THE CLASS PERIOD
12

13          64.    On April 29, 2021, the first trading day after Facebook held its first quarter

14   2021 earnings call, Defendant Zuckerberg stated that “[f]or the last several years, we
15
     focused a lot on content moderation and privacy work, and I view customer support as
16

17
     the next pillar of the trust and safety work for our services.” During the call, an analyst

18   questioned Facebook’s executives about the Company’s algorithmic amplification, which
19
     could lead to more controversial content being pushed to users’ News Feeds. In response,
20
     Defendant Zuckerberg downplayed those concerns, stating that Facebook had practices in
21

22   place that are “quite robust” and assured investors that “we don’t want extremist content
23
     or any of that stuff on our services, so if anything to the contrary of trying to promote
24
     that, we go out of our way to try to reduce that.” Defendant Wehner further assured
25

26   investors that “more than anyone else in the industry we invest on the safety and security

27   side to sort of keep bad content off the site before it gets ranked and put into what people
28
     see.” Defendant Wehner also stated that Facebook has “the most robust set of content
     CLASS ACTION COMPLAINT - 21
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 1   policies out there” and “we really do more than anyone else in the industry on the safety
 2
     and security front to prevent things like misinformation and bad content going into the
 3

 4
     system in the first place.”

 5          65.    On April 29, 2021, Facebook filed with the SEC its quarterly report on
 6
     Form 10-Q for the first quarter of 2021. The Form 10-Q was signed by Defendant
 7
     Wehner and contained certifications by Defendants Zuckerberg and Wehner that attested
 8

 9   to the purported accuracy and completeness of the Form 10-Q. In the 10-Q, Facebook
10
     represented that “[w]e believe the percentage of duplicate accounts is meaningfully
11
     higher in developing markets such as the Philippines and Vietnam, as compared to more
12

13   developed markets.” In addition, Facebook touted its continued investment in certain

14   “company priorities,” including, among other things, “continue making progress on the
15
     major social issues facing the internet and our company, including privacy, safety, and
16

17
     security” and “communicate more transparently about what we’re doing and the role our

18   services play in the world.”
19
            66.    On May 26, 2021, Facebook held its annual meeting of shareholders.
20
     During the meeting, in response to a shareholder’s question about the Company’s policies
21

22   on censorship, Defendant Clegg stated that “[w]e always strive to enforce our policies
23
     evenly without regard to the political affiliation of those affected,” and while Facebook
24
     supports free expression, “of course, that doesn’t mean that politicians can just say things
25

26   that clearly cause harm and our policies on hate speech, incitement and so on apply to

27   everyone regardless of their position of power.” Defendant Clegg further emphasized that
28
     “[s]o . . . we’re very clear, we remove content that poses specific harm to people, content
     CLASS ACTION COMPLAINT - 22
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 1   intended to intimidate, exclude or silence views.”
 2
            67.     Similarly, in response to another shareholder’s question about Facebook’s
 3

 4
     plan to manage the proliferation of “fake news” on its platform, Defendant Clegg stated

 5   that “remember, we really are committed to fighting wherever we can the spread of false
 6
     information on Facebook” and “[w]e remove content that violates our Community
 7
     Standards . . . and we reduce distribution of stories, which are marked as false. And
 8

 9   we . . . try to inform people, so that they can decide for themselves what to read, trust,
10
     and share.” During the meeting, Defendant Zuckerberg assured investors that “for the last
11
     several years, our team that has been focused on [a] kind of trust and safety overall, has
12

13   been more focused on content moderation, so making sure that we can identify harmful

14   content and take it down.”
15
            68.    On July 29, 2021, Facebook filed with the SEC its quarterly report on Form
16

17
     10-Q for the second quarter of 2021. The Form 10-Q was signed by Defendant Wehner

18   and contained certifications by Defendants Zuckerberg and Wehner that attested to the
19
     purported accuracy and completeness of the Form 10-Q. In the 10-Q, Facebook
20
     represented that “[w]e believe the percentage of duplicate accounts is meaningfully
21

22   higher in developing markets such as the Philippines and Vietnam, as compared to more
23
     developed markets.” In addition, Facebook touted its continued investment in certain
24
     “company priorities,” including, among other things, “continue making progress on the
25

26   major social issues facing the internet and our company, including privacy, safety, and

27   security” and “communicate more transparently about what we’re doing and the role our
28
     services play in the world.”
     CLASS ACTION COMPLAINT - 23
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 1            69.   The statements referenced above were materially false and/or misleading
 2
     because they misrepresented and failed to disclose the following adverse facts pertaining
 3

 4
     to the Company’s business, operational and financial results, which were known to

 5   Defendants or recklessly disregarded by them. Specifically, Defendants made false and/or
 6
     misleading statements and/or failed to disclose that: (1) Facebook misrepresented its user
 7
     growth; (2) Facebook was losing the attention of its most important demographic —
 8

 9   teenagers and young people — with no clear path to gaining it back; (3) Facebook knew,
10
     or should have known, that duplicate accounts represented a greater portion of its growth
11
     than stated, and it should have provided more detailed disclosures as to the implication of
12

13   duplicate accounts to Facebook’s user base and growth; (4) young adults engage with

14   Facebook far less than their older cohorts and do not perceive Facebook’s products to be
15
     useful, reliable, and trustworthy; (5) Facebook’s user base has been aging faster, on
16

17
     average, than the general population; (6) Facebook did not provide a fair platform for

18   speech, and regularly protected high profile users via its Cross Check/XCheck system;
19
     (7) despite being aware of their use of Facebook’s platforms, the Company failed to
20
     respond meaningfully to drug cartels, human traffickers, and violent organizations; (8)
21

22   Facebook has been working to attract preteens to its platform and services; and (9) as a
23
     result, Defendants’ public statements were materially false and misleading at all relevant
24
     times.
25

26                                     The Truth Emerges

27            70.   The truth about Facebook’s fraud slowly began to emerge through a series
28
     of partial disclosures. On September 13, 2021, during trading hours, The Wall Street
     CLASS ACTION COMPLAINT - 24
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 1   Journal (“WSJ”) published an article titled “Facebook Says Its Rules Apply to All.
 2
     Company Documents Reveal a Secret Elite That’s Exempt.” It would be the first of nine
 3

 4
     articles published by the WSJ based on documents provided by a whistleblower. The

 5   article stated, in relevant part:
 6
                    Mark Zuckerberg has publicly said Facebook Inc. allows its
 7                  more than three billion users to speak on equal footing with
                    the elites of politics, culture and journalism, and that its
 8
                    standards of behavior apply to everyone, no matter their
 9                  status or fame.
10
                    In private, the company has built a system that has exempted
11                  high-profile users from some or all of its rules, according to
                    company documents reviewed by The Wall Street Journal.
12

13                  The program, known as “cross check” or “XCheck,” was
                    initially intended as a quality-control measure for actions taken
14                  against high-profile accounts, including celebrities, politicians
15
                    and journalists. Today, it shields millions of VIP users from
                    the company’s normal enforcement process, the documents
16                  show. Some users are “whitelisted”—rendered immune from
17
                    enforcement actions—while others are allowed to post rule-
                    violating material pending Facebook employee reviews that
18                  often never come.
19
                                            *      *      *
20

21                  A 2019 internal review of Facebook’s whitelisting practices,
                    marked attorney- client privileged, found favoritism to those
22                  users to be both widespread and “not publicly defensible.”
23                  “We are not actually doing what we say we do publicly,” said
                    the confidential review. It called the company’s actions “a
24                  breach of trust” and added: “Unlike the rest of our community,
25
                    these people can violate our standards without any
                    consequences.”
26

27
                                            *      *      *

28

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 1                 For ordinary users, Facebook dispenses a kind of rough
 2
                   justice in assessing whether posts meet the company’s rules
                   against bullying, sexual content, hate speech and incitement to
 3                 violence. Sometimes the company’s automated systems
 4
                   summarily delete or bury content suspected of rule violations
                   without a human review. At other times, material flagged by
 5                 those systems or by users is assessed by content moderators
                   employed by outside companies.
 6

 7                                         *       *      *
 8
                   Users designated for XCheck review, however, are treated
 9                 more deferentially. Facebook designed the system to minimize
10                 what its employees have described in the documents as “PR
                   fires”—negative media attention that comes from botched
11                 enforcement actions taken against VIPs.
12
                   If Facebook’s systems conclude that one of those accounts
13                 might have broken its rules, they don’t remove the content—at
14
                   least not right away, the documents indicate. They route the
                   complaint into a separate system, staffed by better-trained, full-
15                 time employees, for additional layers of review.
16
                   (Emphasis added.)
17
            71.    On this news, Facebook shares dropped by $5.17 to close at $376.51 on
18

19   September 13, 2021.
20
            72.    On September 28, 2021, during market hours, the WSJ published an article
21
     titled, “Facebook’s Effort to Attract Preteens Goes Beyond Instagram Kids, Documents
22

23   Show.” The article said, in pertinent part:

24                 Internal Facebook documents reviewed by The Wall Street
25
                   Journal show the company formed a team to study preteens,
                   set a three-year goal to create more products for them and
26                 commissioned strategy papers about the long-term business
27
                   opportunities presented by these potential users. In one
                   presentation, it contemplated whether there might be a way to
28                 engage children during play dates.

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 1               “Why do we care about tweens?” said one document from
 2
                 2020. “They are a valuable but untapped audience.”

 3                                       *      *      *
 4
                 On Monday, Adam Mosseri, head of Instagram, said the
 5
                 company would pause the development of a version of the app
 6               for children, often referred to as Instagram Kids. He said the
                 company wanted time to talk to parents, experts and lawmakers
 7
                 before proceeding. He also contended that underage users
 8               would simply lie about their age to access Instagram if a
                 version for children under the age of 13 wasn’t available.
 9

10                                       *      *      *

11
                 Over the past five years, Facebook has made what it called
12               “big bets” on designing products that would appeal to
                 preteens across its services, according to a document from
13
                 earlier this year.
14
                 In more than a dozen studies over that period, the documents
15
                 show, Facebook has tried to understand which products
16               might resonate with children and “tweens” (ages 10 through
                 12), how these young people view competitors’ apps and what
17
                 concerns their parents.
18
                 “With the ubiquity of tablets and phones, kids are getting on
19               the internet as young as six years old. We can’t ignore this and
20               we have a responsibility to figure it out,” said a 2018 document
                 labeled confidential. “Imagine a Facebook experience
21               designed for youth.”
22
                 Earlier this year, a senior researcher at Facebook presented
23               to colleagues a new approach to how the company should
24
                 think about designing products for children. It provided a
                 blueprint for how to introduce the company’s products to
25               younger children. Rather than offer just two types of
                 products—those for users 13 and older, and a messenger app
26
                 for kids—Facebook should tailor its features to six age
27               brackets, said a slide titled “where we’ve been, and where
                 we’re going.”
28

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 1                                          *        *   *
 2
                   In a study about household dynamics, a Facebook user-
 3
                   experience researcher found that although teens often inspired
 4                 their younger relatives to join Instagram, those same teens also
                   often counseled the tweens not to share too frequently, and not
 5
                   to post things they would later regret.
 6
                   “I don’t know how to get a perfect picture like my sister says
 7
                   you need to post,” a tween told the researcher.
 8
                   “We need to understand if this influence over preteen sharing
 9                 holds at scale,” the researcher wrote in a document posted to
10                 Facebook’s internal message board early this year. “If it is
                   common that teens are discouraging preteens from sharing,
11                 there are obvious implications for creation and the ecosystem
12
                   both in the near and longer-term as preteens are the next
                   generation coming onto the platform.” The presentation cited
13                 concern among teenagers about oversharing as a “myth” about
14
                   Instagram.

15                 (Emphasis added.)
16
            73.    On this news, Facebook share prices dropped $7.32 to close at $340.65 on
17
     September 28, 2021.
18

19          74.    On October 3, 2021, CBS News aired a television segment on 60 Minutes
20
     interviewing the Whistleblower, revealed to be Frances Haugen, on her findings during
21
     her time at Facebook. On that same day, CBS published an article containing highlights
22

23   from the interview, stating in relevant part:

24                 “The thing I saw at Facebook over and over again was there
25
                   were conflicts of interest between what was good for the public
                   and what was good for Facebook,” Haugen said. “And
26                 Facebook, over and over again, chose to optimize for its own
27
                   interests, like making more money.”

28                                          *        *   *

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 1                  Haugen told 60 Minutes that weeks after the 2020 election,
 2
                    Facebook dissolved a department called “Civic Integrity”
                    which worked on risks to elections including misinformation.
 3

 4
                    “Like, they basically said, ‘Oh good, we made it through the
                    election. There wasn’t riots. We can get rid of Civic Integrity
 5                  now,’” Haugen said. “Fast forward a couple months, we got
                    the insurrection. And when they got rid of Civic Integrity, it
 6
                    was the moment where I was like, ‘I don't trust that they're
 7                  willing to actually invest what needs to be invested to keep
                    Facebook from being dangerous.’”
 8

 9                                           *      *       *
10
                    Haugen said Facebook’s algorithm optimizes for content that
11                  generates engagement. That’s led to publishers, “realizing
                    that if they produce more content that is angry and divisive
12                  and polarizing, they’ll get more views,” in her words.
13
                    “Facebook has realized that if they change the algorithm to
14                  be safer, people will spend less time on the site, they’ll click
15
                    on less ads, they’ll make less money,” Haugen added.

16                  (Emphasis added.)
17
           75.      On October 4, 2021, CBS News published an article titled,
18
     “Whistleblower’s SEC Complaint: Facebook Knew Platform Was Used to ‘Promote
19

20   Human Trafficking and Domestic Servitude,’” containing the whistleblower complaints
21
     against Facebook filed with the SEC. There were eight complaints shared in the CBS
22
     article. The whistleblower complaints against Facebook, which the CBS News article
23

24   discussed, contained the following allegations:
25         a. Facebook knew its platforms perpetuated misinformation, but did little to stop
26
                 it. In relevant part, this complaint alleged:
27

28

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 1               Facebook misled investors and the public about its role
 2
                 perpetuating misinformation and violent extremism relating to
                 the 2020 election and January 6th insurrection.
 3
                                       *     *      *
 4

 5               Facebook made misstatements and omissions regarding its
                 facilitation of political misinformation, including in testimony
 6               before Congress.
 7
                                       *     *      *
 8

 9
                 Facebook only actions less than 1% of Violence and Inciting
                 to Violence (V&I) content on Facebook – Facebook’s strategy
10               of focusing on Content over other solutions lets this content
11
                 effectively run free[.]

12                                     *     *      *
13
                 Facebook has demonstrated via experiments using brand
14               new test accounts how rapidly Facebook’s algorithms can
                 veer people interested in Conservative topics into radical or
15
                 polarizing ideas and groups/pages, some demonstrating traits
16               of Coordinated Inauthentic Behavior (CIB) akin to what was
                 seen by the Macedonians in 2016[.]
17

18                                     *     *      *
19               Pages that repeat offend for misinformation are permitted to
20               continue to spread misinformation[.]

21                                     *     *      *
22
                 Facebook has “whitelisted” political users who violate its
23               terms, leading to the spread of misinformation and violence
24
                 on and off the platform.

25               (Emphasis added.)
26
           b. Facebook did little to combat human traffickers using its platform. In pertinent
27
              part, this complaint said:
28

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 1               Facebook misled investors and the public about its promotion
 2
                 of human trafficking / slaver / servitude.

 3                                    *      *      *
 4

 5               Internal company documents show that Facebook and
                 Instagram were, and are, being used to promote human
 6
                 trafficking and domestic servitude. An internal Facebook
 7               record created no later than April 2019 states: “We have
                 observed increasing number of reported content that
 8
                 indicates that the platform is being used to coordinate and
 9               promote domestic servitude . . . real world harm caused by
                 domestic servitude as well as risk to the business due to
10
                 potential PR fires . . .”
11
                                      *      *      *
12

13               Notably, there was widespread media coverage of an
                 “undercover investigation by BBC News Arabic” in or around
14               October 2019, which found that “domestic workers are being
15
                 illegally bought and sold online in a booming black market . . .
                 on Facebook-owned Instagram, where posts have been
16               promoted via algorithm- boosted hashtags, and sales
17
                 negotiated via private messages.”

18                                    *      *      *
19
                 However, even after this news coverage, Facebook’s regular
20               SEC filings continually omitted specific references to
                 trafficking, domestic servitude, human slavery, and the Apple
21
                 App Store escalation.
22
                 In fact, Facebook’s failure to solve human trafficking and
23
                 servitude on its platforms threatened its distribution on the
24               Apple App Store. Moreover, as the enclosed Facebook records
                 show, Facebook’s statements about human trafficking were
25               false. For example, Facebook has confirmed: [. . .] [W]e
26               received communication from Apple where the company
                 threatened to pull FB & IG from its App Store due to them
27               identifying content promoting ‘domestic servitude’. . . [. . .]
28
                 However, due to the underreporting of this behaviour and
                 absence of proactive detection, newly created and existing
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 1               content not captured in the IG sweep meant that domestic
 2
                 servitude content remained on the platform. [. . .] Was this
                 issue known to Facebook before BBC enquiry and Apple
 3               escalation? Yes. [. . .] [O]ur platform enables all three stages
 4
                 of the human exploitation lifecycle (recruitment, facilitation,
                 exploitation)[.]”
 5
                 (Emphasis added.)
 6

 7         c. Confirming the earlier WSJ article, Facebook’s XCheck program gave
 8
              preferential treatment to certain users. In relevant part, this complaint said:
 9
                 Facebook misled investors and the public about equal
10
                 enforcement of its terms given that high-profile users are
11               “whitelisted” under its “XCheck” program.
12                                     *      *       *
13
                 [O]ver the years, many XChecked people & entities have been
14               exempted from enforcement. That means, for a select few
15
                 members of our community, we are not enforcing our policies
                 and standards. Unlike the rest of our community, these people
16               can violate our standards without any consequences[.]
17
                                       *      *       *
18
                 We are exempting certain people and businesses from our
19
                 policies and standards [...] This undermines our fairness and
20               legitimacy efforts; creates legal and compliance risks for the
                 company . . . Based on an initial company-wide audit, this
21
                 problem is pervasive across the country[.]
22
                 (Emphasis added.)
23

24         d. Facebook misled investors and the public the extent to which Facebook was
25            used to foment ethnic violence and global division. In relevant part, this
26
              complaint revealed:
27

28

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 1               Facebook misled investors and the public about bringing “the
 2
                 world closer together” where it relegates international users
                 and promotes global division and ethnic violence.
 3

 4
                                      *      *     *

 5

 6
                 [. . .] Facebook’s shareholders proposed having a
 7               human/civil rights expert on the board, stating:
 8
                 “In September 2020, a Facebook employee reported
 9               Facebook ignored global political manipulation from foreign
                 governments seeking to ‘abuse our platform on vast scales to
10
                 mislead their own citizenry.’ [. . .]
11
                 Children’s rights organization Plan International found online
12               attacks against girls globally are most prevalent on Facebook.
13
                                      *      *     *
14

15
                 In Myanmar, where violence against the Rohingya ‘bears the
                 hallmarks of genocide,’ a Facebook commissioned human
16               rights report showed the company ‘created an enabling
17
                 environment.’ In Ethiopia, Facebook’s platform amplified
                 ethnic tensions and calls for genocide, inciting violence.
18
                 In rejecting      that   shareholder   proposal,   Facebook
19
                 represented:
20
                 “We recognize the need to protect and respect both civil and
21
                 human rights and we have made, and continue to make,
22               significant progress on both of these fronts and fight abuse
                 across our services. We believe that implementing this
23
                 proposal is unnecessary because of our continued progress
24               in this area and our efforts to fight abuse across our
                 services. . .”
25

26                                    *      *     *

27               FIRST, Facebook          Lacks   Adequate    Resources    for
28
                 International Issues.

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 1                                     *      *       *
 2
                 Global Remit [n.b. budget] “US – 87%, ROW [Rest of World]
 3               (India, France, Italy)
 4
                 – 13%.

 5                                     *       *      *
 6
                 SECOND, Documents Show that Facebook’s Language
 7               Capabilities are Inadequate, Leading to Global
                 Misinformation and Ethnic Violence.
 8

 9               [. . .] Facebook documentation outlines:
10
                 [. . .] [I]n the Afghanistan market, the action rate for Hate
11               Speech is worryingly low at 0.23 per cent[.]
12                                     *      *       *
13
                 In particular, Facebook’s written translations (in limited
14               languages) do not account for regions where significant users
15
                 cannot read.

16                                     *      *       *
17
                 Nor do they appropriately manage different dialects:
18
                 “Arabic is not one language, truly, rather it is better to consider
19
                 it a family of languages – many of which are mutually
20               incomprehensible . . . [in other dialects] they will still
                 misunderstand cultural or contextual content, which is key to
21
                 problem areas such as Hate Speech and even Terrorism. [. . .]
22               [A]s every Arabic nation save Western Sahara is on the At-
                 Risk Countries list and deals with such severe issues as
23
                 terrorism and sex trafficking--it is surely of the highest
24               importance to put more resources to the task of improving
                 Arabic systems.”
25

26                                     *      *       *

27               THIRD, Documents Confirm That Facebook’s Actions and
28
                 Choices Facilitated Harmful Content and Misinformation
                 Around the World.
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 1

 2
                                      *       *      *

 3               “40% of Sampled Top VPV [View Port Views] Civic Posters
 4
                 in West Bengal Were Fake/Inauthentic. [. . .] The message
                 comes to dominate the ecosystem with over 35% of members
 5               having been recommended a cell group by our algorithms.”
 6
                                      *       *      *
 7
                 “Hate Speech Classifier[s] for Myanmar/Burmese . . . hate
 8
                 speech text classifier. . . currently being used in production /
 9               being maintained? . . . it doesn’t look like it’s currently in
                 use?”
10

11               (Emphasis added.)
12         e. Facebook was inflating its advertising reach and user base in key demographics.
13
              This complaint alleged, in pertinent part:
14

15
                 For years, Facebook has misled investors and advertisers about
                 shrinking user base in important demographics, declining
16               content production, and the true number of recipients of
17
                 “Reach & Frequency” advertising[.]

18                                    *       *      *
19
                 [. . .] Facebook has failed to disclose internal data showing a
20               contraction of the user base in important demographics,
                 including American teenagers and young adults. The
21
                 company has also hidden the extent to which content
22               production per user has been in long-term decline.
23
                                      *       *      *
24
                 Internal documents show that youth and teens, a crucial
25               demographic for advertisers, are deliberately targeted for
26               Instagram in order to bring their family members onto
                 Facebook platforms:
27

28

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 1               “Teens shape the household’s perception of Instagram. [. . .]
 2
                 Family-first acquisition strategies are proven effective (e.g.
                 TikTok) and warrant exploration on IG [Instagram].”
 3

 4
                                       *      *       *

 5               Facebook is inflating it’s [sic] growth numbers by not
                 disclosing that a higher fraction of teen accounts are “Same
 6
                 User with Multiple Accounts” (SUMAs), or duplicate
 7               accounts. In terms of teen users, records indicate:
 8
                 “Over 15% of new teen accounts are existing users creating
 9               a SUMA child [secondary] account.”
10
                 Internal records confirm how teens and young adults in more
11               developed economies are using the platform less.
12               “Facebook’s teen and young adult DAU [Daily Active Users]
13               has been in decline since 2012/2013. [. . .]”

14               “The United States is among the first countries where we
15
                 observed teen MAP [Monthly Active People] decline, starting
                 in 2012 . . . teens have been taking longer to adopt Facebook . . .
16               One immediately concerning takeaway . . . is a flattening
17
                 growth trends for cohorts below 18 years[.]”

18                                     *      *       *
19
                 Although Facebook has sophisticated algorithms to assess
20               the existence of SUMAs / duplicate accounts, Facebook is
                 well aware that its failure to include SUMA duplicate
21
                 accounts distorts its Reach & Frequency (R&F) advertising
22               models:
23
                 “Previous analysis have [sic] shown that including SUMA
24               modeling into audience sizes would reduce overestimation of
                 population in age groups for our top 30 ad markets by 50%
25               when included by itself and by 63% when included in
26               conjunction with age modeling.”

27               By delivering too many ads to users that the advertisers did
28
                 not want to pay for, Facebook overcharged advertisers on a
                 vast scale:
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 1                 “But wont’ [sic] this cause the R&F [reach and frequency] to
 2
                   violate their contract? If the ads is [sic] targeted to 1M
                   accounts with a guarantee of 90%, and we deliver to 900k
 3                 accounts but only 800k users [due to SUMA], wont’ [sic] this
 4
                   make R&F [reach and frequency] pay penalty if we report
                   800k as coverage?[”]
 5
                   (Emphasis added.)
 6

 7         76.     As a result of the October 3 and 4 revelations, Facebook’s share price
 8
     dropped $16.78 per share, or approximately 4.9%, from closing at $343.01 on October 1,
 9
     2021, the prior trading day, to close at $326.23 on October 4, 2021. By October 27, 2021,
10

11   Facebook’s stock had fallen to $312 per share.
12         77.     In a November 2, 2021 statement by Facebook’s VP of Artificial
13
     Intelligence, Jerome Pesenti, Facebook indicated that it was shutting down the Face
14

15
     Recognition System (“FRS”) that had collected up to that point more than a billion

16   individual facial recognition templates.   The implementation of the FRS has been
17
     described as a “growth hack,” used by Facebook to encourage facially identified users to
18
     intensify their use of Facebook. Since its implementation, FRS has been used in negative
19

20   ways, such as by Clearview AI to scrape user faces and sell the information to repressive
21
     regimes to identify dissenters. New York Times tech reporter Casey Newton indicated
22
     that FRS’s value as a growth hack to Facebook most likely had been exhausted by the
23

24   time of Pesenti’s statement.9 Once again, using FRS to encourage those identified to
25

26

27
           9
28         Newton and Swisher, Is the Problem Facebook? Or the Internet?, THE NEW
     YORK TIMES, Nov. 4, 2021.
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 1   expand their engagement with Facebook platforms is the antithesis of “organic.”
 2
               78.   From the first WSJ article published on September 13, 2021, to October 27,
 3

 4
     2021, Facebook share prices fell by $64, materially damaging investors.

 5             79.   Even after these disclosures, major news organizations continued to run
 6
     stories providing additional details on the damaging internal Facebook information
 7
     disclosed by the whistleblower. For example, on October 25, 2021, AP News ran an
 8

 9   article entitled “People or Profit? Facebook Papers Show Deep Conflict Within” which
10
     stated:
11
                     Young adults engage with Facebook far less than their older
12                   cohorts, seeing it as an “outdated network” with “irrelevant
13                   content” that provides limited value for them, according to a
                     November 2020 internal document. It is “boring, misleading
14                   and negative,” they say.
15
                     In other words, the young see Facebook as a place for old
16                   people.
17
                     Facebook’s user base has been aging faster, on average, than
18                   the general population, the company’s researchers found.
                     Unless Facebook can find a way to turn this around, its
19
                     population will continue to get older and young people will
20                   find even fewer reasons to sign on, threatening the monthly
                     user figures that are essential to selling ads.
21

22             80.   The October 25, 2021 AP News article also stated: “Final responsibility
23
     for this state of affairs rests with CEO Mark Zuckerberg, who holds what one former
24
     employee described as dictatorial power over a corporation that collects data on and
25

26   provides free services to roughly 3 billion people around the world.”

27

28

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 1            81.   On October 7, 2021, Time Magazine ran an article entitled “Facebook Will
 2
     Not Fix Itself.” The article argued that greater regulation of Facebook is needed and stated
 3

 4
     that “The sad truth is that the unregulated tech industry produces products that are unsafe”

 5   and “Facebook’s business model [is] not an accident, but rather the inevitable result of a
 6
     dangerous design. In many cases, the documents show, Facebook chose to double-down
 7
     despite awareness of the harm it was causing and the pressure for change.” The article
 8

 9   also noted that “Senators from both parties at this week’s hearing expressed support for
10
     Ms. Haugen’s testimony and for legislation to address it” and included the following
11
     image:
12

13                    [The remainder of this page is intentionally left blank.]

14

15

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 1          82.    On October 25, 2021, CNN ran an article entitled “The Facebook Papers
 2
     May be the Biggest Crisis in the Company’s History.” The article stated that “Facebook
 3

 4
     has confronted whistleblowers, PR firestorms and Congressional inquiries in recent years.

 5   But now it faces a combination of all three at once in what could be the most intense and
 6
     wide-ranging crisis in the company’s 17-year history.” The article noted that “on Friday,
 7
     another former Facebook employee anonymously filed a complaint against the company
 8

 9   to the SEC, with allegations similar to Haugen’s. Facebook has dealt with scandals over
10
     its approach to data privacy, content moderation and competitors before. But the vast trove
11
     of documents, and the many stories surely still to come from it, touch on concerns and
12

13   problems across seemingly every part of its business: its approach to combatting hate

14   speech and misinformation, managing international growth, protecting younger users on
15
     its platform and even its ability to accurately measure the size of its massive audience.”
16

17
            83.    On November 19, 2021, the Wall Street Journal ran an article entitled

18   “States Investigate Instagram Over How it Affects Children.” The article noted that “A
19
     bipartisan coalition of state attorneys general said Thursday it is investigating how
20
     Instagram attracts and affects young people, amping up the pressure on parent company
21

22   Meta Platforms Inc. over potential harms to its users. Led by eight states, including
23
     Massachusetts and Nebraska, the coalition is focused on ‘the techniques utilized by Meta
24
     to increase the frequency and duration of engagement by young users and the resulting
25

26   harms caused by such extended engagement.’”

27          84.     The article included a quote from Nebraska Attorney General Doug
28
     Peterson, a Republican, who said: “When social media platforms treat our children as
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 1   mere commodities to manipulate for longer screen time engagement and data extraction,
 2
     it becomes imperative for state attorneys general to engage our investigative authority
 3

 4
     under our consumer protection laws.” The November 19, 2021 Wall Street Journal article

 5   was a follow-up to an earlier article the paper had run in September 2021. In an interview
 6
     at the time of the Journal’s September 2021 article, Instagram head Adam Mosseri
 7
     acknowledged the findings and said that the company had found remediating the problem
 8

 9   extremely difficult. Mr. Mosseri’s comments helped convince the attorneys general that
10
     the company was unlikely to address their concerns absent a challenge, according to a
11
     person familiar with the probe. “Facebook, now Meta, has failed to protect young people
12

13   on its platforms and instead chose to ignore or, in some cases, double down on known

14   manipulations that pose a real threat to physical and mental health—exploiting children
15
     in the interest of profit,” said Ms. Healey, a Democrat. She cited Instagram’s user survey
16

17
     and focus group work finding some teenagers associated usage of the app with mental

18   health harms and even thoughts of self-harm.
19
           85.    As a result of Defendants’ wrongful acts and omissions, and the precipitous
20
     decline in the market value of the Company’s securities, Plaintiff and other Class members
21

22   have suffered significant losses and damages.
23
                      PLAINTIFF’S CLASS ACTION ALLEGATIONS
24
           86.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil
25

26   Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased the

27   publicly traded securities of Facebook during the Class Period (the “Class”) and were
28
     damaged upon the revelation of the alleged corrective disclosure. Excluded from the Class
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 1   are Defendants herein, the officers and directors of the Company at all relevant times,
 2
     members of their immediate families and their legal representatives, heirs, successors or
 3

 4
     assigns and any entity in which Defendants have or had a controlling interest.

 5          87.      The members of the Class are so numerous that joinder of all members is
 6
     impracticable. Throughout the Class Period, the Company’s securities were actively
 7
     traded on the NASDAQ. While the exact number of Class members is unknown to
 8

 9   Plaintiff at this time and can be ascertained only through appropriate discovery, Plaintiff
10
     believes that there are hundreds or thousands of members in the proposed Class. Record
11
     owners and other members of the Class may be identified from records maintained by the
12

13   Company or its transfer agent and may be notified of the pendency of this action by mail,

14   using the form of notice similar to that customarily used in securities class actions.
15
            88.      Plaintiff’s claims are typical of the claims of the members of the Class as all
16

17
     members of the Class are similarly affected by Defendants’ wrongful conduct in violation

18   of federal law that is complained of herein.
19
            89.      Plaintiff will fairly and adequately protect the interests of the members of
20
     the Class and has retained counsel competent and experienced in class and securities
21

22   litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.
23
            90.      Common questions of law and fact exist as to all members of the Class and
24
     predominate over any questions solely affecting individual members of the Class. Among
25

26   the questions of law and fact common to the Class are:

27                a) whether Defendants’ acts as alleged violated the federal securities laws;
28
                  b) whether Defendants’ statements to the investing public during the Class
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 1                   Period misrepresented material facts about the financial condition, business,
 2
                     operations, and management of the Company;
 3

 4
                  c) whether Defendants’ statements to the investing public during the Class

 5                   Period omitted material facts necessary to make the statements made, in
 6
                     light of the circumstances under which they were made, not misleading;
 7
                  d) whether the Individual Defendants caused the Company to issue false and
 8

 9                   misleading SEC filings and public statements during the Class Period;
10
                  e) whether Defendants acted knowingly or recklessly in issuing false and
11
                     misleading SEC filings and public statements during the Class Period;
12

13                f) whether the prices of the Company’s securities during the Class Period were

14                   artificially inflated because of the Defendants’ conduct complained of
15
                     herein; and
16

17
                  g) whether the members of the Class have sustained damages and, if so, what

18                   is the proper measure of damages.
19
            91.      A class action is superior to all other available methods for the fair and
20
     efficient adjudication of this controversy since joinder of all members is impracticable.
21

22   Furthermore, as the damages suffered by individual Class members may be relatively
23
     small, the expense and burden of individual litigation make it impossible for members of
24
     the Class to individually redress the wrongs done to them. There will be no difficulty in
25

26   the management of this action as a class action.

27          92.      Plaintiff will rely, in part, upon the presumption of reliance established by
28
     the fraud- on-the-market doctrine in that:
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 1                a) Defendants made public misrepresentations or failed to disclose material
 2
                     facts during the Class Period;
 3

 4
                  b) the omissions and misrepresentations were material;

 5                c) the Company’s securities are traded in efficient markets;
 6
                  d) the Company’s securities were liquid and traded with moderate to heavy
 7
                     volume during the Class Period;
 8

 9                e) the Company traded on the NASDAQ, and was covered by multiple
10
                     analysts;
11
                  f) the misrepresentations and omissions alleged would tend to induce a
12

13                   reasonable investor to misjudge the value of the Company’s securities;

14                g) Plaintiff and members of the Class purchased and/or sold the Company’s
15
                     securities between the time the Defendants failed to disclose or
16

17
                     misrepresented material facts and the time the true facts were disclosed,

18                   without knowledge of the omitted or misrepresented facts; and
19
                  h) unexpected material news about the Company was rapidly reflected in and
20
                     incorporated into the Company’s stock price during the Class Period.
21

22          93.      Based upon the foregoing, Plaintiff and the members of the Class are entitled
23
     to a presumption of reliance upon the integrity of the market.
24
            94.      Alternatively, Plaintiff and the members of the Class are entitled to the
25

26   presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the

27   State of Utah v. United States, 406 U.S. 128 (1972), as Defendants omitted material
28
     information in their Class Period statements in violation of a duty to disclose such
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 1   information, as detailed above.
 2
                                             COUNT I
 3                Violation of Section 10(b) of The Exchange Act and Rule 10b-5
 4
                                      Against All Defendants

 5          95.     Plaintiff repeats and realleges each and every allegation contained above as
 6
     if fully set forth herein.
 7
            96.     This Count is asserted against the Company and the Individual Defendants
 8

 9   and is based upon Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5
10
     promulgated thereunder by the SEC.
11
            97.     During the Class Period, the Company and the Individual Defendants,
12

13   individually and in concert, directly or indirectly, disseminated or approved the false

14   statements specified above, which they knew or deliberately disregarded were misleading
15
     in that they contained misrepresentations and failed to disclose material facts necessary in
16

17
     order to make the statements made, in light of the circumstances under which they were

18   made, not misleading.
19
            98.     The Company and the Individual Defendants violated §10(b) of the 1934
20
     Act and Rule 10b-5 in that they: employed devices, schemes and artifices to defraud; made
21

22   untrue statements of material facts or omitted to state material facts necessary in order to
23
     make the statements made, in light of the circumstances under which they were made, not
24
     misleading; and/or engaged in acts, practices and a course of business that operated as a
25

26   fraud or deceit upon plaintiff and others similarly situated in connection with their

27   purchases of the Company’s securities during the Class Period.
28

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 1          99.    The Company and the Individual Defendants acted with scienter in that they
 2
     knew that the public documents and statements issued or disseminated in the name of the
 3

 4
     Company were materially false and misleading; knew that such statements or documents

 5   would be issued or disseminated to the investing public; and knowingly and substantially
 6
     participated, or acquiesced in the issuance or dissemination of such statements or
 7
     documents as primary violations of the securities laws. These defendants by virtue of their
 8

 9   receipt of information reflecting the true facts of the Company, their control over, and/or
10
     receipt and/or modification of the Company’s allegedly materially misleading statements,
11
     and/or their associations with the Company which made them privy to confidential
12

13   proprietary information concerning the Company, participated in the fraudulent scheme

14   alleged herein.
15
            100.   Individual Defendants, who are the senior officers and/or directors of the
16

17
     Company, had actual knowledge of the material omissions and/or the falsity of the

18   material statements set forth above, and intended to deceive Plaintiff and the other
19
     members of the Class, or, in the alternative, acted with reckless disregard for the truth
20
     when they failed to ascertain and disclose the true facts in the statements made by them
21

22   or other personnel of the Company to members of the investing public, including Plaintiff
23
     and the Class.
24
            101.   As a result of the foregoing, the market price of the Company’s securities
25

26   was artificially inflated during the Class Period. In ignorance of the falsity of the

27   Company’s and the Individual Defendants’ statements, Plaintiff and the other members of
28
     the Class relied on the statements described above and/or the integrity of the market price
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 1   of the Company’s securities during the Class Period in purchasing the Company’s
 2
     securities at prices that were artificially inflated as a result of the Company’s and the
 3

 4
     Individual Defendants’ false and misleading statements.

 5          102.     Had Plaintiff and the other members of the Class been aware that the market
 6
     price of the Company’s securities had been artificially and falsely inflated by the
 7
     Company’s and the Individual Defendants’ misleading statements and by the material
 8

 9   adverse information which the Company’s and the Individual Defendants did not disclose,
10
     they would not have purchased the Company’s securities at the artificially inflated prices
11
     that they did, or at all.
12

13          103.     As a result of the wrongful conduct alleged herein, Plaintiff and other

14   members of the Class have suffered damages in an amount to be established at trial.
15
            104.     By reason of the foregoing, the Company and the Individual Defendants
16

17
     have violated Section 10(b) of the 1934 Act and Rule 10b-5 promulgated thereunder and

18   are liable to the Plaintiff and the other members of the Class for substantial damages which
19
     they suffered in connection with their purchases of the Company’s securities during the
20
     Class Period.
21

22                                            COUNT II
                           Violation of Section 20(a) of The Exchange Act
23
                                 Against the Individual Defendants
24
            105.     Plaintiff repeats and realleges each and every allegation contained in the
25

26   foregoing paragraphs as if fully set forth herein.

27          106.     During the Class Period, the Individual Defendants participated in the
28
     operation and management of the Company, and conducted and participated, directly and
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 1   indirectly, in the conduct of the Company’s business affairs. Because of their senior
 2
     positions, they knew the adverse non-public information regarding the Company’s
 3

 4
     business practices.

 5          107.   As officers and/or directors of a publicly owned company, the Individual
 6
     Defendants had a duty to disseminate accurate and truthful information with respect to the
 7
     Company’s financial condition and results of operations, and to correct promptly any
 8

 9   public statements issued by the Company which had become materially false or
10
     misleading.
11
            108.   Because of their positions of control and authority as senior officers, the
12

13   Individual Defendants were able to, and did, control the contents of the various reports,

14   press releases and public filings which the Company disseminated in the marketplace
15
     during the Class Period. Throughout the Class Period, the Individual Defendants exercised
16

17
     their power and authority to cause the Company to engage in the wrongful acts complained

18   of herein. The Individual Defendants therefore, were “controlling persons” of the
19
     Company within the meaning of Section 20(a) of the Exchange Act. In this capacity, they
20
     participated in the unlawful conduct alleged which artificially inflated the market price of
21

22   the Company’s securities.
23
            109.   Each of the Individual Defendants, therefore, acted as a controlling person
24
     of the Company. By reason of their senior management positions and/or being directors
25

26   of the Company, each of the Individual Defendants had the power to direct the actions of,

27   and exercised the same to cause, the Company to engage in the unlawful acts and conduct
28
     complained of herein. Each of the Individual Defendants exercised control over the
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 1   general operations of the Company and possessed the power to control the specific
 2
     activities which comprise the primary violations about which Plaintiff and the other
 3

 4
     members of the Class complain.

 5          110.   By reason of the above conduct, the Individual Defendants are liable
 6
     pursuant to Section 20(a) of the Exchange Act for the violations committed by the
 7
     Company.
 8

 9                                   PRAYER FOR RELIEF
10
            WHEREFORE, Plaintiff demands judgment against Defendants as follows:
11
            A.     Determining that the instant action may be maintained as a class action
12

13   under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

14   Class representative;
15
            B.     Requiring Defendants to pay damages sustained by Plaintiff and the Class
16

17
     by reason of the acts and transactions alleged herein;

18          C.     Awarding Plaintiff and the other members of the Class prejudgment and
19
     post- judgment interest, as well as their reasonable attorneys’ fees, expert fees and other
20
     costs; and
21

22          D.     Awarding such other and further relief as this Court may deem just and
23
     proper.
24
                               DEMAND FOR TRIAL BY JURY
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26          Plaintiff hereby demands a trial by jury.

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     CLASS ACTION COMPLAINT - 50
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 1   Dated: November 22, 2021               Respectfully submitted,
 2                                          BOTTINI & BOTTINI, INC.
                                            Francis A. Bottini, Jr. (SBN 175783)
 3                                          Albert Y. Chang (SBN 296065)

 4
                                            s/ Francis A. Bottini, Jr.
 5                                              Francis A. Bottini, Jr.
 6                                          7817 Ivanhoe Avenue, Suite 102
                                            La Jolla, California 92037
 7                                          Telephone: (858) 914-2001
                                            Facsimile: (858) 914-2002
 8                                          fbottini@bottinilaw.com
                                            achang@bottinilaw.com
 9
                                            Attorneys for Plaintiff Juan Perez and
10                                          the Proposed Class
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     CLASS ACTION COMPLAINT - 51
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                                  CERTIFICATION OF NAMED PLAINTIFF
                                PURSUANT TO FEDERAL SECURITIES LAWS


                     Juan Perez (“Plaintiff”) declares:

                     1.      Plaintiff has reviewed a complaint and authorized its filing.

                     2.      Plaintiff did not acquire the security that is the subject of this

            action at the direction of plaintiff’s counsel or in order to participate in this

            private action or any other litigation under the federal securities laws.

                     3.      Plaintiff is willing to serve as a representative party on behalf of

            the class, including providing testimony at deposition and trial, if necessary.

                     4.      Plaintiff has made the following transaction(s) during the Class

            Period in the securities that are the subject of this action: see Exhibit A

                     5.      Plaintiff has not sought to serve or served as a representative

            party in a class action that was filed under the federal securities laws within

            the three-year period prior to the date of this Certification.

                     6.      The Plaintiff will not accept any payment for serving as a

            representative party on behalf of the class beyond the Plaintiff’s pro rata

            share of any recovery, except such reasonable costs and expenses (including

            lost wages) directly relating to the representation of the class as ordered or

            approved by the court.

                     I declare under penalty of perjury that the foregoing is true and correct.
                                    
            Executed this ____ day of ____________, 2021.



                                                                     Juan Perez

                                                                       RE: FACEBOOK SHAREHOLDER CASE
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                      Case 3:21-cv-09041-CRB Document
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                                                      EXHIBIT A
                   Date      Bought          Price     Cost      Date         Sold     Price    Proceeds
                  10/12/2021     10         $373.75   $3737.50          n/a      n/a      n/a         n/a


            Shares held at end of Class Period: 10
